 
    

        
		
        

        
        
        
        
        

        
		
        	
		STATE v. ALLEN



    

	
    
	
	
	
		Skip to Main Content
		Accessibility Statement
	
	
		
			
				
					Help
					Contact Us
				
			
			
				
					e-payments
					Careers
				
			
		
	
	
		
			
			
		
		
			
				Home
				Courts
				Decisions
				Programs
				News
				Legal Research
				Court Records
				Quick Links
			
		
	
			
	
		OSCN Found Document:STATE v. ALLEN

					

				
  



				
					
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
					
				

				
				STATE v. ALLEN2021 OK CR 13487 P.3d 837Case Number: S-2019-849Decided: 05/20/2021STATE OF OKLAHOMA, Appellant v. KELVIN WAYNE ALLEN &amp; TAMI LEANN WARE
Cite as: 2021 OK CR 13, 487 P.3d 837

				

&nbsp;



ORDER AUTHORIZING PUBLICATION



¶1 Upon further deliberation, we find that the prior opinion handed down in the above styled and numbered appeal on January 28, 2021, should be released for publication.

¶2 IT IS THEREFORE THE ORDER OF THIS COURT that the opinion previously entered in this case, as corrected, supplemented and paragraphed is hereby AUTHORIZED FOR PUBLICATION.

¶3 The Clerk of this Court is directed to transmit a copy of this Order to the Court Clerk of Craig County; the District Court of Craig County, the Honorable Shawn S. Taylor, District Judge; and counsel of record.

¶4 IT IS SO ORDERED.

¶5 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 20th day of May, 2021.

/S/DANA KUEHN, Presiding Judge

/S/SCOTT ROWLAND, Vice-Presiding Judge

/S/GARY L. LUMPKIN, Judge

/S/DAVID B. LEWIS, Judge - Dissenting

/S/ROBERT L. HUDSON, Judge

ATTEST:


/s/John D. Hadden
Clerk 



&nbsp;


&nbsp;



LEWIS, J., DISSENTING:


¶1 I respectfully dissent from publication of this opinion. As the opinion concedes, this case is "easily resolved" by Green v. State, 2020 OK CR 18, 474 P.3d 886. In Green, the Court held that the mother neglected her unborn child by exposing the child to dangerous drugs. In this case, the Court held that two parents neglected their unborn child by exposing the child to dangerous drugs.

¶2 The trial court granted these motions to quash on October 30, 2019. This Court decided Green on September 10, 2020. Neither the trial court, nor even the State in its appellate brief, filed May 17, 2020, had the benefit of Green. There could be no real abuse of lower court discretion where there was no clear authority at the time.

¶3 This case could have been summarily reversed and remanded with a bare citation to Green. Any but an obtuse magistrate or trial court would look and see that Green holds child neglect can be committed against an unborn child. Another new opinion, so swiftly on the heels of Green, dilutes our leading authority and invites trifling attempts to distinguish away what has already been made clear.

&nbsp;

&nbsp;


&nbsp;

&nbsp;







	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	Oklahoma Court of Criminal Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2020 OK CR 18, 474 P.3d 886, STATE v. GREENDiscussed


	
	








				
					
					
				

		
		




	
		
			
				oscn
				
				EMAIL: webmaster@oscn.net
				Oklahoma Judicial Center
				2100 N Lincoln Blvd.
				Oklahoma City, OK 73105
			
			
				courts
				
					Supreme Court of Oklahoma
					Court of Criminal Appeals					
					Court of Civil Appeals
					District Courts
				
			
			
				decisions
				
					New Decisions
					Supreme Court of Oklahoma
					Court of Criminal Appeals
					Court of Civil Appeals
									
			
			
				programs
				
					The Sovereignty Symposium
					
					Alternative Dispute Resolution
					Early Settlement Mediation
					Children's Court Improvement Program (CIP)
					Judicial Nominating Commission
					Certified Courtroom Interpreters
					Certified Shorthand Reporters
					Accessibility ADA
									
			
		
	
	
		
			
				
				Contact Us
				Careers
				Accessibility ADA
			
		
	


	
        
        		
        
		
        		
        
        	
    
